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 4
     Attorney for CHARLES GOODMAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 2:17-CR-0023 TLN
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND ORDER
            v.                                      ) MODIFYING THE SCHEDULE
10                                                  ) FOR Mr. GOODMAN’S PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11
     CHARLES GOODMAN,                               ) OF NOVEMBER 29, 2018
12
                                                    )
                     Defendant.                     ) Judge: Hon. Troy L. Nunley
13   ================================)
14
            Defendant Charles Goodman is requesting a three-week continuance of his sentencing
15

16
     hearing, which is presently set for November 8, 2018. AUSA Jason Hitt, on behalf of the United

17   States Attorney’s Office, and USPO Lynda Moore, on behalf of the United States Probation Office,
18   have no objection to the requested continuance. The parties hereby stipulate to re-set the schedule for
19
     the pre-sentence report as follows:
20
            Judgment and Sentencing Date: November 29, 2018
21
            Reply, or Statement of Non-opposition: November 21, 2018
22

23          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: November 15,
24          2018
25
            The Presentence Report shall be filed with the Court and disclosed to the parties no
26          later than: November 8, 2018

27          Counsel’s written objections to the Presentence Report shall be delivered to the
            Probation Officer and opposing counsel no later than: November 1, 2018
28




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 1          The proposed Presentence Report shall be disclosed to counsel no later than: October
            18, 2018
 2

 3
     Dated: October 3, 2018                              Respectfully submitted,
 4
                                                         /s/ Michael D. Long
 5
                                                         MICHAEL D. LONG
 6                                                       Attorney for Charles Goodman

 7
     Dated: October 3, 2018                              McGREGOR SCOTT
 8
                                                         United States Attorney
 9
                                                         /s/ Jason Hitt
10                                                       JASON HITT
11
                                                         Assistant U.S. Attorney

12                                               ORDER
13          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
14
            The Court hereby orders that the schedule for Mr. Goodman’s pre-sentence report is
15   amended as follows:
16
            Judgment and Sentencing Date: November 29, 2018, at 9;30 a.m.
17

18
            Reply, or Statement of Non-opposition: November 21, 2018

19          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: November 15,
20          2018
21
            The Presentence Report shall be filed with the Court and disclosed to the parties no
22          later than: November 8, 2018

23          Counsel’s written objections to the Presentence Report shall be delivered to the
24
            Probation Officer and opposing counsel no later than: November 1, 2018

25          The proposed Presentence Report shall be disclosed to counsel no later than: October
            18, 2018
26
     Dated: October 3, 2018
27

28
                                                              Troy L. Nunley
                                                              United States District Judge
                                                   -2-
